        Case 2:23-cv-00515-MMB Document 13-3 Filed 01/30/24 Page 1 of 1




                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA



    HECTOR FIGUEROA                               :
                                                                 CIVIL ACTION
                                  Plaintiff,      :
                                                  :
                          vs.                     :
                                                       Case No. 2:23-cv-00515
                                                  :
    COUNTY OF DELAWARE
                                                  :

                                  Defendant.      :


                                               ORDER

       AND NOW this ______ day of _____________, 2024, upon consideration of Defendant,

County of Delaware’s Motion for Summary Judgment, pursuant to Fed. R. Civ. P. 56, it is hereby

ORDERED that said Motion is GRANTED, and that JUDGMENT is entered on all claims of

Plaintiff in favor of Defendant, County of Delaware.


                                BY THE COURT:


                                                       BAYLSON, U.S.D.J.
